      Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 1 of 21




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

                                        §
PARITY NETWORKS, LLC,                   §
                                        §
                Plaintiff,              § Civil No. 6:19-cv-00207-ADA
                                        §
     v.                                 § JURY TRIAL DEMANDED
                                        §
CISCO SYSTEMS, INC.,                    §
                                        §
                Defendant.              §

 DEFENDANT CISCO SYSTEMS, INC.’S MOTION TO DISMISS FOR FAILURE TO
                         STATE A CLAIM
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 2 of 21




                                              TABLE OF CONTENTS

                                                                                                                                Page




I.     INTRODUCTION ...............................................................................................................1

II.    SUMMARY OF ALLEGATIONS IN COMPLAINT ........................................................2

III.   ARGUMENT .......................................................................................................................5

       A.        Legal Standards Governing this Motion to Dismiss ............................................... 5

       B.        Parity Fails to State Claims for Direct Infringement .............................................. 5

       C.        Parity Fails to State Claims for Pre-Suit Indirect Infringement .............................. 9

       D.        Parity Fails to State a Claim for Willful Infringement ......................................... 12

                 1.         Parity fails to allege facts to plausibly show that Cisco had pre-suit
                            knowledge of the Patents-in-Suit and the alleged infringement ............... 14

                 2.         Parity fails to allege facts to plausibly show that Cisco engaged in
                            egregious, piratical conduct ..................................................................... 14

IV.    CONCLUSION ..................................................................................................................15




                                                               -i-
             Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 3 of 21




                                                 TABLE OF AUTHORITIES

Cases

Aguirre v. Powerchute Sports, LLC, No. SA–10–CV–702–XR, 2011 WL 3359554
   (W.D. Tex. Aug. 4, 2011) ..........................................................................................................9

Apeldyn Corp. v. AU Optronics Corp., 831 F. Supp. 2d 817 (D. Del. 2011) aff’d,
   522 Fed.Appx. 912 (Fed. Cir. 2013) ........................................................................................11

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ............................................................................................5

Atlas IP LLC v. Pac. Gas and Elec. Co., Case No. 15-cv-05469-EDL, 2016 WL
    1719545 (N.D. Cal. Mar. 9, 2016) .............................................................................................8

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .....................................................................5

In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323
    (Fed. Cir. 2012) ..........................................................................................................................9

Cascades Computer Innovation, LLC v. Samsung Elecs., Co. Ltd., 77 F. Supp. 3d
   756 (N.D. Ill. 2015)..................................................................................................................11

CG Tech. Dev., LLC v. Zynga, Inc., No. 2:16-CV-859-RCJ-VCF, 2017 WL
  662489 (D. Nev. Feb. 17, 2017) ..............................................................................................13

Chapterhouse LLC v. Shopify, Inc., 2:18-CV-00300-JRG, 2018 WL 6981828
   (E.D. Tex. Dec. 11, 2018) ......................................................................................................6, 8

Collins v. Morgan Stanley Dean Witter, 224 F.3d 496 (5th Cir. 2000) .....................................7, 10

Commil USA v. Cisco Sys., Inc., 135 S. Ct. 1920 (2015).................................................................9

Diamond Grading Techs., Inc. v. American Gem Society, No. 2:14-cv-1171 RWS,
   2016 WL 2902482 (E.D. Tex. Mar. 30, 2016) ..........................................................................5

Disc Disease Sols. Inc. v. VGH Sols., Inc., 888 F.3d 1256 (Fed. Cir. 2018) ...................................6

Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 845 F.3d 1357 (Fed. Cir. 2017) ............................9

Evolved Wireless, LLC v. Samsung Elecs., Co. Ltd., No. 15-545-SLR-SRF, 2016
   WL 1019667 (D. Del. Mar. 15, 2016) .....................................................................................11

Finjan, Inc. v. Cisco Sys., Inc., Case No. 17-cv-00072-BLF, 2017 WL 2462423
   (N.D. Cal. Jun. 7, 2017) .....................................................................................................13, 15

Finjan, Inc. v. Juniper Networks, Inc., No. C 17-05659 WHA, 2018 WL 905909
   (N.D. Cal. Feb. 14, 2018).........................................................................................................15



                                                                    - ii -
             Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 4 of 21




Franks v. Prudential Health Care Plan, Inc., 164 F.Supp.2d 865 (W.D. Tex.
   2001) ....................................................................................................................................7, 10

Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016) ............................................ 5, 12-14

Jao Control & Monitoring Sys., LLC v. Protect America, Inc., No. 1–14–CV–
   134–LY, 2015 WL 3513151 (W.D. Tex. Mar. 24, 2015) (Yeakel, J.) ..................................5, 9

K-Tech Telecomm., Inc. v. Time Warner Cable, Inc., 714 F.3d 1277 (Fed. Cir.
   2013) ..........................................................................................................................................5

Meetrix IP, LLC v. Cisco Sys., Inc., Case No. 1-18-CV-309-LY (W.D. Tex. Nov.
   30, 2018), D.I. 30 ................................................................................................... 10, 12-13, 15

Meraz v. M. Susan Rice, P.C., No. SA-09-CA-138-OG, 2009 WL 10669232
   (W.D. Tex. May 15, 2009).........................................................................................................1

MONEC Holding AG v. Motorola Mobility, Inc., 897 F. Supp. 2d 225 (D. Del.
  2012) ........................................................................................................................................10

Novitaz Inc. v. inMarket Media, LLC, Case No. 16-cv-06795-EJD, 2017 WL
   2311407 (N.D. Cal. May 26, 2017) ...........................................................................................8

Plano Encryption Techs., LLC v. Alkami Tech., Inc., No. 2:16-cv-1032-JRG, 2017
   WL 8727249 (E.D. Tex. Sept. 22, 2017) ...................................................................................6

Princeton Digital Image Corp. v. Ubisoft Entmn’t SA, C.A. No. 13–335–LPS–
   CJB, 2017 WL 6337188 (D. Del. Dec. 12, 2017)..............................................................11, 15

Varian Med. Sys., Inc. v. Elekta AB, No. 15–871, 2016 WL 3748772 (D. Del. Jul.
   12, 2016) ..................................................................................................................................13

Vasudevan Software, Inc. v. TIBCO Software Inc., No. C 11–06638 RS, 2012 WL
   1831543 (N.D. Cal. 2012)........................................................................................................11

WBIP, LLC v. Kohler Co., 829 F.3d 1317 (Fed. Cir. 2016) ....................................................12, 14

Statutes

35 U.S.C. § 284 ........................................................................................................................12, 15

Other Authorities

Fed. R. Civ. P. 12(b)(6)................................................................................................................1, 7




                                                                      - iii -
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 5 of 21




I.     INTRODUCTION
       Parity Networks, LLC (“Parity”) fails to allege plausible claims of direct, pre-suit indirect

and willful patent infringement with respect to the four patents asserted in this case. Accordingly,

pursuant to Fed. R. Civ. P. 12(b)(6), these claims should be dismissed.1

       First, Parity does not provide sufficient detail to state a claim for direct infringement.

Parity references asserted claims in the patents (which are not attached to the Complaint), but

does not specify any of the claim elements or map them to the accused products in any way. Such

bare pleading is insufficient to state claims for direct infringement.

       Second, Parity does not plead sufficient facts to state a claim for pre-suit indirect

infringement. Parity alleges “actual or constructive knowledge” of the Patents-in-Suit by Cisco to

support its pre-suit indirect and willful infringement claims. However, these claims are legally and

factually implausible because (i) “constructive knowledge” is legally insufficient for indirect and

willful infringement (and Parity supplies no facts to establish such knowledge in any case); and

(ii) the conclusory allegation that Cisco had actual knowledge of the Patents-in-Suit is based on

two letters that are not described in any detail and that Parity, tellingly, failed to attach to its

Complaint, but which, if considered, do not provide adequate notice as a matter of law. Neither

letter refers specifically to any of the Patents-in-Suit nor explains which products allegedly infringe

them. Instead, they refer generally to a portfolio of 65 U.S. patents and dozens of foreign

counterparts and applications. Courts have held that burying asserted patents among general lists

of unasserted patents is insufficient to provide actual knowledge of particular patents or alleged

infringement for purposes of indirect or willful infringement.




1
 This motion suspends Cisco’s obligation to respond to the entire complaint. See Meraz v. M.
Susan Rice, P.C., No. SA-09-CA-138-OG, 2009 WL 10669232, *1-2 (W.D. Tex. May 15, 2009).


                                                 -1-
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 6 of 21




       Courts have also rejected that “actual knowledge” is shown through Parity’s other theory

alleged here, i.e., that “Cisco and its affiliates” allegedly learned about “at least some” of the

asserted patents from “its own prosecution activities.” Moreover, Parity does not identify a single

patent or application that allegedly provided Cisco with actual knowledge of any of the Patents-

in-Suit. Further, a court in this District and others have held that such allegations are insufficient

to plausibly support indirect and willful infringement claims.

       Third, Parity does not plead sufficient facts to state a claim for willful infringement. In

addition to lacking plausible pre-suit knowledge allegations, Parity’s boilerplate willful

infringement allegations lack any factual basis on which to presume that Cisco acted with the kind

of “egregious,” “piratical” conduct that is required to state a willfulness claim. Indeed, Parity

alleges no facts about Cisco’s conduct or intent that could give rise to a plausible inference that it

has willfully infringed any of the Patents-in-Suit.

       Accordingly, the Court should grant Cisco’s motion and dismiss Parity’s direct, pre-suit

indirect, and willful infringement claims in their entirety.

II.    SUMMARY OF ALLEGATIONS IN COMPLAINT
       On March 14, 2019, Parity commenced this action by filing its Original Complaint against

Cisco in this Court (the “Complaint”). See D.I. 1.

       In the Complaint, Parity alleges that Cisco infringes four patents: U.S. Patent Nos.

6,760,777, entitled “Method and Apparatus for Distributing and Providing Fault Tolerance to Path-

Vector Routing Protocols Within a Multi-Processor Router” (“’777 Patent”); 7,002,958, entitled

“Method for Load Balancing with FIFO Guarantees in Multipath Networks” (“’958 Patent”);

8,429,296, entitled “Method and Apparatus for Distributing Routing Instructions Over Multiple

Interfaces of a Data Router” (“’296 Patent”), and 9,306,757, entitled “Method and Apparatus for

Distributing Routing Instructions Over Multiple Interfaces of a Data Router” (“’757 Patent”)


                                                -2-
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 7 of 21




(collectively, the “Patents-in-Suit”). See D.I. 1, ¶¶ 10-14. None of the Patents-in-Suit are attached

to the Complaint, but the Court can take judicial notice of them. See Cisco’s Request for Judicial

Notice ISO Motion to Dismiss, filed concurrently with this motion.

       Although Parity identifies the Patents-in-Suit, it does not provide any factual allegations

about what the patents allegedly cover or how each allegedly relates to Cisco’s products.

       Parity includes allegations about “Defendant’s Acts” that identify software that Cisco

allegedly implements on its switches and routers, and makes general reference to various operating

systems and features on certain switches and routers. See D.I. 1, ¶¶ 15-32. Parity does not explain

whether, and if so, how, any of these features relate to any asserted claims in the Patents-in-Suit.

       For each of the Asserted Patents, Parity identifies a claim that is allegedly directly infringed

by Cisco, but does not specify any of the claim elements nor explain how the “exemplary infringing

product” meets each of the elements. See D.I. 1, ¶¶ 37-38 (alleging infringement of claim 7 of ’777

Patent); ¶¶ 44-45 (alleging infringement of claim 1 of ’958 Patent); ¶¶ 51-52 (alleging infringement

of claim 1 of ’296 Patent); and ¶¶ 58-59 (alleging infringement of “claim 13” of ’757 Patent,

despite there being no such claim in the patent).

       Parity’s allegations that Cisco had pre-suit notice of the Patents-in-Suit are sparse. See D.I.

1, ¶¶ 33-34. First, Parity alleges that “[b]y two letters dated October 5, 2016 and November 18,

2016, Cisco was provided and actually received notice of the Patents-in-Suit and consequently has

actual or constructive knowledge of each of them.” Id., ¶ 33. Parity alleges that Cisco responded

that it would provide a complete response in due course, but has not done so. See id. Parity does

not describe the content of its own letters at all, and does not attach copies to the Complaint.

       Parity further alleges that “during the course of its own prosecution activities, Cisco and

its affiliates have been apprised and gained prior knowledge of at least some of the Patents-in-Suit,




                                                -3-
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 8 of 21




including by way of family members.” Id., ¶ 34. Parity does not specify any actual patents or

applications through which Cisco allegedly gained knowledge of any of the Patents-in-Suit, or

which of the Patents-in-Suit Cisco allegedly gained knowledge of. Parity does not provide any

other allegations that Cisco knew of the patents before this suit was filed.

        Parity also alleges, in largely boilerplate terms, that Cisco indirectly infringes each of the

Patents-in-Suit by inducing and contributing to infringement. See id., ¶¶ 39-40; 46-47; 53-54; 60-

61. Parity appears to generally limit its indirect infringement claims to post-suit conduct by Cisco

with regard to the ’958, ’296 and ’757 Patents. See id., ¶¶ 46; 53; 60 (alleging that Cisco has been

inducing infringement “at least since the filing of the Original Complaint” as to these patents).

        Parity alleges willful infringement based on the following allegations which appear to

relate to its pre-suit notice allegations: “[o]n multiple occasions, Cisco has been provided notice

of infringement of the Patents-in-Suit by direct communications from Plaintiff’s representatives;”

and Cisco has “received actual notice of at least the ’777 Patent, the ’958 Patent, and the ’757

Patent” “in connection with its own prosecution activities.” Id., ¶ 63-64. As noted above, Parity

does not plead any facts or details regarding the alleged communications or prosecution activities.

        Parity’s remaining allegations consist of boilerplate recitation of the standard for willful

infringement that was operative prior to the U.S. Supreme Court’s decision in Halo Electronics:

“Defendant has knowingly or with reckless disregard willfully infringed one or more of the

foregoing Patents-in-Suit. Defendant has thus had actual notice of infringement of one or more of

the Patents-in-Suit, and acted despite an objectively high likelihood that its actions constituted

infringement of Plaintiff’s valid patent rights.” Id., ¶ 65. Despite alleging that “[t]his objective risk

was either known or so obvious that it should have been known,” Parity does not plead any facts

to show that Cisco engaged in any “egregious” conduct as required for willful infringement under




                                                  -4-
         Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 9 of 21




the Halo standard.

III.    ARGUMENT
        A.      Legal Standards Governing this Motion to Dismiss

        Plaintiffs are required under the Federal Rules to allege claims that “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007). This obligation requires “more than labels and conclusions, and a formulaic recitation of

a cause of action will not do.” Twombly, 550 U.S. at 555. Pleadings that are “no more than

conclusions” are “not entitled to the assumption of truth.” Iqbal, 556 U.S. at 679 (citation omitted).

        The plausibility requirement applies to Parity’s claims, including its claims for indirect and

willful infringement. See Jao Control & Monitoring Sys., LLC v. Protect America, Inc., No. 1–14–

CV–134–LY, 2015 WL 3513151, *3 (W.D. Tex. Mar. 24, 2015) (Yeakel, J.) (“‘[T]he general

principles of Twombly and Iqbal must be applied to indirect infringement claims.’”) (citation

omitted); Diamond Grading Techs., Inc. v. American Gem Society, No. 2:14-cv-1171 RWS, 2016

WL 2902482, *2 (E.D. Tex. Mar. 30, 2016) (dismissing willfulness claim for lacking a “plausible

allegation of subjective knowledge”). As set forth below, Parity has not come close to satisfying

the plausibility standard for its claims of direct, pre-suit indirect and willful infringement.

        B.      Parity Fails to State Claims for Direct Infringement

        Before it was abrogated from the Federal Rules at the end of 2015, Form 18 “effectively

immunize[d] a claimant from attack regarding the sufficiency of the pleading” for a direct

infringement claim. K-Tech Telecomm., Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1282–85

(Fed. Cir. 2013). Courts have since made clear that “Form 18 no longer provides a safe harbor for

direct infringement claims. Now, to state a claim for direct infringement, a plaintiff must explicitly

plead facts to plausibly support the assertion that a defendant ‘without authority makes, uses, offers


                                                  -5-
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 10 of 21




to sell, or sells any patented invention during the term of the patent.’” Plano Encryption Techs.,

LLC v. Alkami Tech., Inc., No. 2:16-cv-1032-JRG, 2017 WL 8727249, *1 (E.D. Tex. Sept. 22,

2017) (citing 35 U.S.C. § 271(a)).

       The Eastern District of Texas has clarified that to adequately plead direct infringement

post-abrogation of Form 18, the plaintiff must “lay out sufficient factual allegations” to “allege

how the [accused products] meet the text of the exemplary claim.” See Chapterhouse LLC v.

Shopify, Inc., 2:18-CV-00300-JRG, 2018 WL 6981828, *2 (E.D. Tex. Dec. 11, 2018) (dismissing

direct infringement claim in which the pleading broke down an exemplary claim to its elements

and referred to corresponding screenshots of accused products but did not otherwise accompany

the screenshots with factual allegations laying out how they met the text of the claim). The Court

distinguished Disc Disease Sols. Inc. v. VGH Sols., Inc., 888 F.3d 1256 (Fed. Cir. 2018), in which

a complaint was found sufficient that alleged direct infringement of a “relatively simple” patent

where the accused product was an “inflatable belt for use with support panels” that met “each and

every element” of a claim. See Chapterhouse, 2018 WL 6981828, at *2.

       Here, for each of the Patents-in-Suit, Parity identifies one claim but does not identify any

of the claim elements, and conclusorily alleges direct infringement by parroting the statutory

definition of infringement. See D.I. 1, ¶¶ 37-38; 44-45; 51-52; 58-59. In one instance, Parity

asserts a “claim 13” that does not exist because the patent at issue has only eight claims. See D.I.

1, ¶ 58; RJN, Ex. D. Parity does not provide any actual description of how the so-called

“exemplary” Cisco product practices specific claim elements or even specify what those elements

are. Instead, Parity simply refers to an alleged product and some alleged components and/or

functionality, with no attempt to connect those them to each element of the asserted claim, as

required to adequately plead direct infringement post-abrogation of Form 18.




                                                -6-
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 11 of 21




       As an example, Parity alleges that “at least claim 7” of the ’777 Patent is infringed by the

“Cisco IOS XR is [sic] the Carrier Routing System, which products include multiple processors

and wherein different instances of BGP are running on different route processors (RPs) or

distributed route processors (DRPs) of the multi-processor router. Each instance of BGP

establishes a routing session with an external router.” D.I. 1, ¶ 37-38. This brief statement does

not indicate whether or how any of the alleged components or functionality satisfies any of the

claim elements of claim 7, much less all the claim elements of claim 7.

       In contrast to the sparse allegations in the Complaint, claim 7 of the ’777 Patent (which

again, is not even attached to the Complaint)2, includes each of the following elements:

A multi-processor router, comprising:
       a plurality of instances of a router-distributed Border Gateway Protocol (rdBGP)
       executing on each of a plurality of processors;

       an internal fabric through which the plurality of processors may communicate; and

       ports through which the rdBGP instances may communicate with external routers;

       characterized in that each instance of rdBGP establishes a routing session with an
       external router, learns routes from the external router, and determines a set of routes,
       including a best route, from the routes learned.
RJN, Ex. A [‘777 Patent]. A simple comparison between the actual elements of claim 7 and

Parity’s allegations shows that its pleading does not identify or refer to all claim elements, or even

identify them as such, let alone tie each of the elements to any specific components or

functionality of the accused product. Parity’s sparse description of the accused product omits parts


2
 See Cisco’s Request for Judicial Notice (“RJN”), Exs. A-D [Patents-in-Suit]. Further, in this
Court and in the Fifth Circuit, a court may consider documents attached not only to the
pleadings, but to the motion to dismiss under rule 12(b)(6), if the documents are referred to in the
complaint and are central to the plaintiff’s claim. See Collins v. Morgan Stanley Dean Witter,
224 F.3d 496, 498-99 (5th Cir. 2000); Franks v. Prudential Health Care Plan, Inc., 164
F.Supp.2d 865, 872 (W.D. Tex. 2001). Here, these requirements are clearly met because the
Patents-in-Suit are referred to in the Complaint and are central to Parity’s claims.


                                                 -7-
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 12 of 21




of each claim element and completely omits any reference to the elements reciting “an internal

fabric . . .”, or a plurality of routers that “learns routes from the external router, and determines a

set of routes, including a best route, from the routes learned.” Parity’s allegations regarding the

other asserted patents follow the same deficient pattern. See D.I. 1, ¶¶ 44-45; 51-52; 58-59.

       Parity’s minimalist approach does not satisfy the pleading standards for direct

infringement. A court in the Eastern District of Texas recently rejected a complaint that alleged

more factual detail than Parity has done here, including reciting all of the claim elements and

identifying screen shots of the accused product for each claim element. See Chapterhouse, 2018

WL 6981828, at *2. In Chapterhouse, the court held that a plaintiff must “lay out sufficient factual

allegations” to “allege how the [accused products] meet the text of the exemplary claim.” See id.

Parity has neither identified each of the elements of its asserted claims, nor attempted to

specifically tie each element to specific components or functionality of the accused product. This

is not enough. See id.; see also Atlas IP LLC v. Pac. Gas and Elec. Co., Case No. 15-cv-05469-

EDL, 2016 WL 1719545, *2 (N.D. Cal. Mar. 9, 2016) (holding that “simply reciting some of the

elements of a representative claim and then describing generally how an accused product operates,

without specifically tying the operation to any asserted claim or addressing all of the claim

requirements, is insufficient” to withstand a motion to dismiss).

       As Parity does not provide factual detail to make its direct infringement allegations

plausible, it fails to state a claim for direct infringement of any of the asserted patents. See Novitaz

Inc. v. inMarket Media, LLC, Case No. 16-cv-06795-EJD, 2017 WL 2311407, *3 (N.D. Cal. May

26, 2017) (dismissing claim for direct infringement where the complaint “makes no factual

allegations about how” the accused products “operate, let alone map this information onto any

elements of any of the claims,” and did not address all claim elements).




                                                 -8-
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 13 of 21




       C.      Parity Fails to State Claims for Pre-Suit Indirect Infringement

       Claims for induced and contributory infringement both “require[] knowledge of the patent

in suit and knowledge of patent infringement.” Commil USA v. Cisco Sys., Inc., 135 S. Ct. 1920,

1926 (2015). As to inducement, “[t]o survive a motion to dismiss . . . Plaintiff’s complaint must

contain facts plausibly showing that the defendant specifically intended its customers to infringe

the patents-in-suit and knew that the customer’s acts constituted infringement.” In re Bill of Lading

Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012). Further,

“mere knowledge of acts alleged to constitute infringement is not sufficient; rather the plaintiff

must show ‘specific intent and action to induce infringement.’” Eli Lilly & Co. v. Teva Parenteral

Meds., Inc., 845 F.3d 1357, 1368 (Fed. Cir. 2017) (citation omitted).

       A court in this District has stated that: “[a] complaint for contributory infringement must

include facts supporting the plausibility of the following: (1) the defendant supplies a component

that is a material part of a patented invention; (2) the defendant knows that the component is

‘especially made or especially adapted for use in an infringement of such patent’; (3) the

component is not a staple article or commodity suitable for noninfringing use; and (4) the

component is ultimately used in a direct infringement of the patent.” Jao Control & Monitoring

Sys., 2015 WL 3513151, at *5 (citing In re Bill of Lading, 681 F.3d at 1337).

       Here, Parity fails to allege facts to plausibly show that Cisco had pre-suit knowledge of the

Patents-in-Suit, as required for its induced and contributory infringement claims. See Aguirre v.

Powerchute Sports, LLC, No. SA–10–CV–702–XR, 2011 WL 3359554, *5 (W.D. Tex. Aug. 4,

2011) (“Absence of knowledge is a fatal flaw in a claim for indirect patent infringement.”). To try

to meet the requirement, Parity alleges that Cisco had pre-suit “actual or constructive knowledge”

of the Patents-in-Suit on grounds that are factually implausible and flawed as a matter of law.

Thus, Parity’s claims for pre-suit induced and contributory infringement must be dismissed.


                                                -9-
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 14 of 21




        First, for purposes of indirect infringement, actual knowledge - not constructive knowledge

- is required to state plausible claims. See MONEC Holding AG v. Motorola Mobility, Inc., 897 F.

Supp. 2d 225, 232 (D. Del. 2012) (“[A]ctual (not constructive) knowledge of the patent-in-suit is

necessary to state a claim for indirect infringement under the Supreme Court’s decision in Global–

Tech, unless the patentee is claiming willful blindness.”) (citation omitted). A court in this District

recently confirmed that actual knowledge is the correct standard. See Meetrix IP, LLC, Case No.

1-18-CV-309-LY, D.I. 30, at 3-4 (W.D. Tex. Nov. 30, 2018) (dismissing pre-suit indirect

infringement claims and holding that indirect infringement “requires actual knowledge or willful

blindness”). Thus, Parity’s conclusory assertion of “constructive knowledge,” in addition to being

unsupported, is insufficient to state a claim for indirect infringement as a matter of law.

        Second, Parity’s allegation of pre-suit actual knowledge based on two alleged, unspecified

letters to Cisco is insufficient to provide actual knowledge of the Patents-in-Suit. See D.I. 1, ¶ 32.

Parity alleges that such actual notice of the Patents-in-Suit was obtained by Cisco from “letters

dated October 5, 2016 and November 28, 2016,” but Parity does not describe any of the contents

of the letters nor attach them to its Complaint. See id. Parity’s failure to allege any facts about the

letters is telling because, in fact, neither of the letters refers specifically to the Patents-in-Suit or

provides any explanation of the Patents-in-Suit or how Cisco’s products allegedly infringe them.

Instead, the letters are in relation to a portfolio of 65 U.S. patents and dozens of foreign

counterparts and applications that are listed in an appendix and slides to the October 5 letter. See

Decl. of Daniel McCloskey, Exs. A, B [Oct. 5 and Nov. 28, 2016 Letters].3




3
 As noted supra, this Court may consider the letters because they are referred to in the Complaint
and are central to Parity’s claims for pre-suit indirect and for willful infringement. See Collins v.
Morgan Stanley Dean Witter, 224 F.3d at 498-99; Franks, 164 F.Supp.2d at 872.


                                                 - 10 -
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 15 of 21




       Such generic letters in which the Patents-in-Suit are not called out or explained and are

instead buried within a list of many other, unasserted patents are not sufficient to provide actual

knowledge of the patents at issue here or the alleged infringement. See Evolved Wireless, LLC v.

Samsung Elecs., Co. Ltd., No. 15-545-SLR-SRF, 2016 WL 1019667, *3-4 (D. Del. Mar. 15, 2016)

(allegations of pre-suit knowledge insufficient where alleged letter did not specifically reference

the patents-in-suit from list of 85 patents and applications, holding that “a patent included in an

appendix containing dozens of patents does not place a defendant on notice of the patents-in-suit”);

Cascades Computer Innovation, LLC v. Samsung Elecs., Co. Ltd., 77 F. Supp. 3d 756, 766 (N.D.

Ill. 2015) (holding that defendant could not be on notice of patent that was not referenced in letter

but “merely listed in an appendix, without explanation” with 39 other patents). Under these cases,

there is no basis for finding pre-suit knowledge from the alleged letters.

       Third, Parity’s allegation that Cisco gained actual knowledge of the Patents-in-Suit at some

unspecified time through Cisco’s and its “affiliates’” unspecified “prosecution activities” is also

implausible. See D.I. 1, ¶ 33. Courts have held that “[a]t the motion to dismiss stage, allegations

that a defendant cited or referenced a patent during prosecution are generally not sufficient, alone,

to support an inference of pre-suit knowledge of that patent.” Princeton Digital Image Corp. v.

Ubisoft Entmn’t SA, C.A. No. 13–335–LPS–CJB, 2017 WL 6337188, *1 (D. Del. Dec. 12, 2017)

(citations omitted); see also Vasudevan Software, Inc. v. TIBCO Software Inc., No. C 11–06638

RS, 2012 WL 1831543, *5-*7 (N.D. Cal. 2012) (holding that defendant’s alleged knowledge of

the pending patent application that led to the asserted patent and knowledge of other family-related

patents were insufficient to show actual knowledge of the asserted patent); Apeldyn Corp. v. AU

Optronics Corp., 831 F. Supp. 2d 817, 831 (D. Del. 2011) aff'd, 522 Fed.Appx. 912 (Fed. Cir.

2013) (rejecting constructive notice theory and holding “[t]here is simply no indication that




                                               - 11 -
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 16 of 21




constructive notice is meant to embrace the hundreds, if not thousands, of listed patents that would

be generated in many cases” “based on the listing of a patent on the face of another patent”).

       Here, Parity’s allegations do not even rise to the (deficient) level of alleging that Cisco

cited one of the Patents-in-Suit in prosecuting its own patents, but refer only generally to

“prosecution activities” that may not include Cisco, but an unspecified “affiliate,” and may not

include any of the asserted patents, but instead their “family members.” Further, a court in this

District recently rejected a very similar, and arguably more detailed allegation, that included

reference to specific patents, as insufficient to plausibly show pre-suit knowledge of the patents.

See Meetrix IP, LLC, Case No. 1-18-CV-309-LY (W.D. Tex. Nov. 30, 2018), D.I. 30, at 4 (holding

that “allegations of actual notice stemming from prosecution activities is too attenuated to

plausibly infer that Cisco had pre-suit knowledge of the Asserted Patents”). Thus, Parity’s vague

allegations of actual knowledge via “prosecution activities” are insufficient.

       In sum, there are no plausible allegations in the Complaint that can show that Cisco had

the required actual knowledge of the Patents-in-Suit before this action was filed. Accordingly,

Parity has failed to state a claim for pre-suit indirect infringement of any of the Patents-in-Suit.

       D.      Parity Fails to State a Claim for Willful Infringement

       The Federal Circuit has confirmed that “[k]nowledge of the patent alleged to be willfully

infringed continues to be a prerequisite to enhanced damages.” WBIP, LLC v. Kohler Co., 829

F.3d 1317, 1341 (Fed. Cir. 2016). In order to recover enhanced damages for willful patent

infringement, a plaintiff must satisfy the requirements of 35 U.S.C. § 284 as interpreted by the

United States Supreme Court in Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935

(2016). In Halo, the Supreme Court held that the “sort of conduct warranting enhanced damages

has been variously described in our cases as willful, wanton, malicious, bad-faith, deliberate,

consciously wrongful, flagrant, or—indeed—characteristic of a pirate.” Id. at 1932. Thus, under


                                                - 12 -
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 17 of 21




Halo, while “courts should continue to take into account the particular circumstances of each case,”

enhanced damages are limited to “egregious cases of misconduct beyond typical infringement,”

such as those “typified by willful misconduct.” Id. at 1933-35.

       Courts here and elsewhere have applied Halo in determining whether a willfulness claim

is plausibly alleged and have dismissed those that do not show the requisite egregious conduct.

See, e.g., Meetrix IP, LLC v. Cisco Sys., Inc., Case No. 1-18-CV-309-LY (W.D. Tex. Nov. 30,

2018), D.I. 30, at 7-8 (dismissing willfulness claim that “does not allege any facts raising a

plausible inference of the egregious behavior required under Halo”); Varian Med. Sys., Inc. v.

Elekta AB, No. 15–871, 2016 WL 3748772, *8 (D. Del. Jul. 12, 2016) (dismissing willfulness

allegation for failing to state facts showing that the defendants’ actions “actually amounted to an

egregious case of infringement of the patent”); CG Tech. Dev., LLC v. Zynga, Inc., No. 2:16-CV-

859-RCJ-VCF, 2017 WL 662489, *4 (D. Nev. Feb. 17, 2017) (“Under Halo, Plaintiffs have failed

to state a claim for willful infringement because they have failed to allege any facts suggesting that

Defendant’s conduct is ‘egregious . . . beyond typical infringement.’”) (quoting Halo, 136 S. Ct.

at 1935 (alteration in original)); Finjan, Inc. v. Cisco Sys., Inc., Case No. 17-cv-00072-BLF, 2017

WL 2462423, *5 (N.D. Cal. Jun. 7, 2017) (“[T]he Complaint] makes no specific factual allegations

about Cisco’s subjective intent, or any other aspects of Cisco’s behavior that would suggest its

behavior was ‘egregious.’”) (internal citation omitted).

       Parity’s willful infringement allegations are bare conclusions using outdated legal

standards that are inconsistent with current willful infringement jurisprudence. See D.I. 1, ¶¶ 62-

65 (alleging Cisco has “knowingly or with reckless disregard willfully infringed . . . despite an

objectively high likelihood that its actions constituted infringement of Plaintiff's presumptively




                                                - 13 -
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 18 of 21




valid patent rights”). Parity’s boilerplate allegations do not plausibly show either the knowledge

or egregiousness required for willfulness under Halo.

                1.      Parity fails to allege facts to plausibly show that Cisco had pre-suit
                        knowledge of the Patents-in-Suit and the alleged infringement

        As discussed above, Parity does not plead facts to plausibly show Cisco had pre-suit

knowledge of the Patents-in-Suit at any point prior to the filing of the Original Complaint. See §

III(C), supra. Parity’s reliance on these same failed allegations (i.e., (1) generic letters that do not

specifically refer to the Patents-in-Suit or accused products and (2) that Cisco or its “affiliates”

knew of “family members” of the Patents-in-Suit from unspecified prosecution activities) is

plainly deficient. See D.I. 1, ¶¶ 33-34, 63-64. Parity never alleges that it took steps to notify Cisco

of these specific patents or that any of Cisco’s products infringed them. Absent knowledge of the

patents and the alleged infringement, there can be no willful infringement. See WBIP, LLC, 829

F.3d at 1341. Accordingly, Parity’s allegations of willful infringement fail at least because it has

not alleged facts showing that Cisco had the requisite knowledge of the Patents-in-Suit and the

alleged infringement before this suit was filed.

                2.      Parity fails to allege facts to plausibly show that Cisco engaged in
                        egregious, piratical conduct
        In addition to its failure to establish the required pre-suit knowledge, Parity also does not

allege facts to plausibly show that Cisco engaged in the type of “egregious” conduct required for

willful infringement. See Halo, 136 S. Ct. at 1935. Beyond its repeat of inadequate pre-suit

knowledge allegations, Parity pleads only bare (and legally outdated) conclusions as to willfulness:

                65. Notwithstanding this knowledge, Defendant has knowingly or with reckless
                disregard willfully infringed one or more of the foregoing Patents-in-Suit.
                Defendant has thus had actual notice of infringement of one or more of the
                Patents-in-Suit and acted despite an objectively high likelihood that its actions
                constituted infringement of Plaintiff’s valid patent rights.




                                                 - 14 -
        Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 19 of 21




               66. This objective risk was either known or so obvious that it should have been
               known to Defendant. Accordingly, Plaintiff seeks enhanced damages pursuant to
               35 U.S.C. § 284.
D.I. 1, ¶¶ 65-66.

       As these threadbare allegations show, Parity does not allege any specific facts about

Cisco’s behavior that could give rise to a plausible inference that Cisco has engaged in egregious

conduct of any kind. Indeed, Parity alleges that Cisco has acted “recklessly,” but does not allege

any facts to show the subjective intent and misconduct required under Halo. This is not sufficient

to state a claim for willfulness. See, e.g., Meetrix IP, LLC, Case No. 1-18-CV-309-LY (W.D. Tex.

Nov. 30, 2018), D.I. 30, at 7-8 (dismissing willfulness claim that “states legal conclusions without

‘factual content’ showing a plausible inference of egregiousness” and that was made “under the

abrogated Seagate standard”) (citation omitted); Finjan, Inc. v. Juniper Networks, Inc., No. C 17-

05659 WHA, 2018 WL 905909, *4 (N.D. Cal. Feb. 14, 2018) (dismissing willfulness claim

because the plaintiff “fails to identify any factual allegation that Juniper exhibited egregious

behavior on par with that described in Halo”); Princeton Digital Image Corp., 2016 WL 6594076,

at *11 (“[The Complaint] does not sufficiently articulate how Ubisoft SA’s actions during a short,

three-month period of time amount to an ‘egregious’ case of infringement of the patent.”); Cisco

Sys., Inc., 2017 WL 2462423, at *5 (“Finjan has simply made conclusory allegations of knowledge

and infringement, which, considered in the totality of circumstances here, is not enough to

plausibly allege ‘egregious[ness].’”) (citations omitted). Thus, Parity’s willful infringement claims

should be dismissed for this additional, independent reason.

IV.    CONCLUSION
       For the foregoing reasons, Cisco respectfully requests that the Court grant this motion to

dismiss Parity’s claims for direct, pre-suit indirect and willful infringement.




                                                - 15 -
       Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 20 of 21




Dated: May 24, 2019                Respectfully submitted,

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                                    - 16 -
       Case 6:19-cv-00207-ADA Document 11 Filed 05/24/19 Page 21 of 21




                               CERTIFICATE OF SERVICE

       I certify that on May 24, 2019, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send notification of such filing to all counsel of record.


                                                       /s/ Gilbert A. Greene
                                                       Gilbert A. Greene




                                              - 17 -
